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                              UNITED STATES DISTRICT COURT
                                DISTRICT OF CONNECTICUT

UNITED STATES OF AMERICA                           :            Case No. 3:18-cr-095 (SRU)
                                                   :
                v.                                 :
                                                   :
YEHUDI MANZANO                                     :            October 25, 2018


                        GOVERNMENT’S OBJECTIONS TO THE
                     DEFENDANT’S PROPOSED JURY INSTRUCTIONS

        The Government respectfully submits this memorandum objecting to the defendant’s

proposed jury instructions.

I.      Jury Nullification

        The defendant proposes that the Court provide the jury with a jury nullification

instruction informing them that they can return a verdict of not guilty—even if they believe the

Government has proven the charges—if they believe the Government has proceeded in an unjust

manner by bringing the pending charges or if they believe the sentence consequences are not fair.

As set forth in the Government’s memorandum in opposition to the defendant’s motion to argue

jury nullification (see ECF 36), such an instruction is improper. The Second Circuit has noted

that “[n]ullification is ‘a violation of a juror’s oath to apply the law as instructed by the court.’”

United States v. Thomas, 116 F.3d 606, 614 (2d Cir.1997) (“we categorically reject the idea that,

in a society committed to the rule of law, jury nullification is desirable or that courts may permit

it to occur when it is within their authority to prevent.”); see also United States v. Manning, 79

F.3d 212, 219 (1st Cir. 1996) (“We have consistently held that a district court may not instruct

the jury as to its power to nullify.” (internal quotations and citations omitted)); United States v.

Rosario, No. 317-CR-551(VLB), 2018 WL 1634392, at *2 (D. Conn. Apr. 4, 2018) (“the Court

is prohibited from encouraging nullification.”).
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        The Second Circuit has stated that “trial courts have the duty to forestall or prevent [jury

nullification], whether by firm instruction or admonition[.]” Id. at 616. Indeed, if the Court

suspects a jury may nullify, it can instruct the jury that is has a “duty” to convict if the

Government proves a defendant’s guilt beyond a reasonable doubt. See United States v. Moran-

Toala, 726 F.3d 334, 343 (2d Cir. 2013) (“Nor have we faulted a district court for instructing a

jury that it has a “duty” to convict if the government proves a defendant’s guilt beyond a

reasonable doubt.”); United States v. Carr, 424 F.3d 213, 219–20 (2d Cir.2005) (“Nothing in our

case law begins to suggest that the court cannot also tell the jury affirmatively that it has a duty

to follow the law, even though it may in fact have the power not to.”); United States v. St. Rose,

No. 11-CR-349 SJ, 2012 WL 1107659, at *2 (E.D.N.Y. Apr. 2, 2012) (“The Court takes

seriously its duty to prevent the parties from encouraging jury nullification. Accordingly, the

Court will remind jurors of their duty to apply the law as instructed by the Court ... to render a

true verdict according to the law and the evidence.” (internal quotations and citations omitted)).

        Accordingly for the reasons set forth above and in the Government’s memorandum in

opposition to the defendant’s motion to argue jury nullification (see ECF 36), the Court should

reject the defendant’s proposed instruction.

II.     Production of Child Pornography

        The defendant proposes an affirmative defense instruction for mistake-of-age based on

the Ninth Circuit’s Pattern Jury Instructions. Specifically, the defendant proposes that the Court

instruct the jury as follows:

        It is a defense to a charge of sexual exploitation of a child that the defendant did
        not know, and could not reasonably have learned, that the child was under 18
        years of age.




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       The Government must disprove beyond a reasonable doubt that the defendant did
       not know and could not reasonably have learned that the alleged victim was under
       18 years of age.

       If you find by that the defendant did not know and could not reasonably have
       learned that the child was under 18 years of age, you must find the defendant not
       guilty of the charge of sexual exploitation of a child.

       The Government objects to such an instruction. First, at least six other circuit courts and

other district courts have rejected the Ninth Circuit’s view and the mistake-of-age defense in

section 2251(a) cases. See United States v. Henry, 827 F.3d 16, 23–25 (1st Cir. 2016); United

States v. Fletcher, 634 F.3d 395, 401–04 (7th Cir. 2011); United States v. Humphrey, 608 F.3d

955, 958–62 (6th Cir. 2010); United States v. McCloud, 590 F.3d 560, 567–68 (11th Cir. 2009);

United States v. Pliego, 578 F.3d 938, 943–44 (8th Cir. 2009); United States v. Malloy, 568 F.3d

166, 171–76 (4th Cir. 2009); United States v. McClelland, No. CRIM.A. 10-10173, 2011 WL

5025025, at *4 (D. Kan. Oct. 21, 2011); United States v. Villanova-Delgado, No. CRIM. 11-222

JAF, 2011 WL 4832569, at *2 (D.P.R. Oct. 12, 2011); see also United States v. Deverso, 518

F.3d 1250, 1257–58 (11th Cir. 2008) (rejecting defense in section 2251(c) case).

       Although the Second Circuit has not specifically addressed whether a mistake-of-age

defense is appropriate in production of § 2251 cases, it has made clear that “§ 2251 does not

contain a scienter requirement as to the victim’s age.” United States v. Griffith, 284 F.3d 338,

349 (2d Cir. 2002) (“The Supreme Court thus has concluded that § 2251 does not contain a

knowledge of age requirement.”).

       It also bears noting that the Ninth Circuit’s Pattern Instruction is based on the Ninth

Circuit decision in United States v. United States District Court, 858 F.2d 534, 540–42 (9th Cir.

1988). That case, however, was decided before the Supreme Court’s decision in United States v.




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X-Citement Video, Inc., 513 U.S. 64, 77 n.5 (1994), which stated that “producers may be

convicted under § 2251(a) without proof they had knowledge of age.”

       This Court should follow the majority of circuits and decline to give a mistake-of-age

instruction.   However, even if the Court decides to follow the minority view and give a mistake-

of-age instruction, the defendant’s proposed instruction improperly shifts the burden to the

Government to disprove the affirmative defense. The Ninth Circuit’s Pattern Instruction, based

on the United States District Court case, provides that the “[t]he defendant has the burden of

proving by clear and convincing evidence—that is, that it is highly probable—that the defendant

did not know and could not reasonably have learned that [name of victim] was under 18 years of

age.” Ninth Circuit Pattern Instruction 8.186; United States District Court, 858 F.2d 534, 540

(placing the burden on the defendant to prove the defense by “clear and convincing evidence.”).

The Government has no burden to prove or disprove the defendant’s knowledge of the victim’s

age. See Griffith, 284 F.3d at 349 (rejecting “Griffiths’ argument that the district court’s charge

to the jury omitting scienter of age under § 2251(a) was erroneous.”).

III.   Transportation of Child Pornography

       The defendant proposes that the same affirmative defense instruction for mistake of age

be provided for Count Two charging transportation of child pornography. With respect to this

count, the elements of the offense require the Government to prove beyond a reasonable doubt

that the defendant knew that the material he transported was child pornography. See Govt.’s

Proposed Jury Instructions (ECF No. 42) at 24.        The Government’s proposed instructions

provide that the Government must show that the defendant had knowledge or an awareness that

the material contained a visual depiction of a minor. Id.

       Thus, no affirmative defense instruction is necessary for this count.



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                                        CONCLUSION

       For the foregoing reasons, the Government respectfully requests that the Court decline to

provide the jury with the defendant’s proposed instructions.


                                             Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

        I hereby certify that on October 25, 2018, a copy of the foregoing document was filed
electronically and served by mail on anyone unable to accept electronic filing. Notice of this filing
will be sent by e-mail to all parties by operation of the Court’s electronic filing system or by mail
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                                               /s/ Neeraj N. Patel
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